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1 | WILKE, FLEURY, HOFFELT, GOULD & BIRNEY, LEP we -
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| CLERK, US. DiSvRiCT COURT

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Attorneys for Defendants

MARK FUKUHARA, DOUGLAS BURLAND, MICHAEL
GERKOVICH, STEVEN LEACH, EDMUND PETERSON,
DAN SALOMON, JOE SILVA, JUSTICE OPHTHALMICS,
10 | INC., a Tennessee Corporation, ZETA DEVELOPMENT
LABS, INC., a Tennessee Corporation, and JOHNNY

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AUG [1 9 2004 FOR THE EASTERN DISTRICT OF CALIFORNIA

US [DISTRICT COURT
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08 HALMIC IMAGING SYSTEMS, a No. CIV.S-04-0482 LKK

16 || California corporation,

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UNITED STATES DISTRICT COURT

17 Plaintiff,

18 VS.

19 | MARK FUKUHARA, an individual,
DOUGLAS BURLAND, an individual,
20 | MICHAEL GERKOVICH, an individual,
STEVEN LEACH, an individual,

21 | EDMUND PETERSON, an individual,
DAN SALOMON, an individual, JOE

22 || SILVA, an individual, DALE
BRODSKY, an individual,

23 | EYEPICTURES, INC., a Missouri
Corporation, JUSTICE OPHTHALMICS,
24 | INC., a Tennessee Corporation, ZETA
DEVELOPMENT LABS, INC., a

25 | Tennessee Corporation, JOHNNY
JUSTICE, JR., an individual, DOES ONE
26 | through TEN,

27 Defendants.

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WILKE, FLEURY, HOFFELT, 138972.1 . ] _
GOULD & BIRNEY, LLP .

 

 

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ORDER ON PLAINTIFF’S MOTION FOR
PRELIMINARY INJUNCTION

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ATTORNEYS At Law

SACRAMERTO ORDER ON PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION (No. CIV.S-04-0482 LKK DAD)

 

 
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WILKE, FLEURY, HOFFELT,

GOULD & BIRNEY, LLP
ATTORNEYS AT LAW
SACRAMENTO

Case 2:04-cv-00482-LKK-DAD Document 84 Filed 08/23/04 Page 2 of 7

This matter came before the Court on Plaintiff's application for preliminary injunction
on August 4, 2004. Stephen L. Davis of Davis & Leonard, LLP, appeared on behalf of Plaintiff,
Ophthalmic Imaging Systems (“OIS”). Alan G. Perkins of Wilke, Fleury, Hoffelt, Gould &
Birney, LLP, and Daniel P. Maguire, appeared on behalf of Defendants Fukuhara, Burland,
Gerkovich, Leach, Peterson, Salomon, Silva, Justice Ophthalmics, Zeta Development Labs, and
Justice (collectively, “the Fukuhara Defendants”). R. Lawrence Bragg of the Law Offices of
Donald J. DeShaw appeared on behalf of Defendants Brodsky and Eyepictures. Based on the
papers and the pleadings filed herein, the stipulation of the parties, and after oral argument, the
Court hereby orders as follows:

1. OIS’s motion is denied as to Brodsky and Eyepictures.

2. That the Fukuhara Defendants shall make no copies of any kind, for any purpose,
of any computer software created or licensed by OIS, except as such copying results
automatically from the ordinary use of the software consistent with the terms of any applicable
license with OIS.

3, That the Fukuhara Defendants shall not sell, distribute, transfer, license, or sub-
license any copies of any version of OIS WinStation computer software to anyone.

4, That the Fukuhara Defendants shall not transfer or disclose to any third party any
document, disk or other medium containing a copy of OIS’s customer database or a portion of it,
and shall not duplicate, transfer, or disclose to any third party any files, documents, or
information contained on the disk or disks that Defendant Burland testified were at Matt Jolly’s
desk and are now in possession of the Fukuhara Defendants’ counsel.

5. That the Fukuhara Defendants shall resell any OIS imaging systems or devices
already in their possession “as-is,” and shall not modify those systems or devices in any way
before resale, even at the request of the customer, except that the Fukuhara Defendants may do so
if they advise the customer in writing that the systems or devices have been modified and are not
original OIS systems or devices.

6. That the injunctive relief provided in this order and the Court’s temporary

restraining order of April 6, 2004, shall remain in full force and effect until trial. The injunctive
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ORDER ON PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION (No. CIV.S-04-0482 LKK DAD)

 
Case 2:04-cv-00482-LKK-DAD Document 84 Filed 08/23/04 Page 3 of 7

1 || relief provided in this order and in the Court’s temporary restraining order of April 6, 2004, shall
2 } expire as to any and all of the Fukuhara Defendants who are hereafter dismissed from this action,
3 || except the orders entered above shall continue to apply to any person acting in concert with a

4 || party to this action.

 

 

5 The injunction bond in the amount of $10,000 previously posted by Plaintiff shall remain
6 || in full force and effect.
7 IT IS SO ORDERED.
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" ’ | hy ok [ton
DATED: 2! UO: ay fowl hn
10 ‘ ‘ AWRENCE ck KIS enior Judge

1 United States District Court

 

 

 

 

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3 APPROVED AS TO FORM:

14

15 | STEPHEN L. DAVIS, ESQ. ALAN G. PERKINS ESO.

DAVIS & LEONARD, LLP WILKE, FLEURY, HOFFELT, GOULD &
16 | Attorneys for Plaintiff BIRNEY, LLP
OPHTHALMIC IMAGING SYSTEMS Attorneys for Defendants

17 MARK FUKUHARA, DOUGLAS
BURLAND, MICHAEL GERKOVICH,

18 STEVEN LEACH, EDMUND PETERSON,
DAN SALOMON, JOE SILVA, JUSTICE

19 OPHTHALMICS, INC., a Tennessee
Corporation, ZETA DEVELOPMENT

20 LABS, INC., a Tennessee Corporation, and

3 JOHNNY JUSTICE, JR.

22

23

24 R. LAWRENCE BRAGG
LAW OFFICES OF DONALD J. DESHAW

25 Attorneys for Defendants
DALE BRODSKY and EYEPICTURES,

26 INC.

27

28

WILKE, FLEURY, HOFFELT, |! 138972. 1 -3-

GOULD & BIRNEY, LLP

 

ATTORNEYS AT LAW

SACRAMENTO ORDER ON PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION (No. CIV.S-04-0482 LKK DAD)

 

 
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expire as to any and all of the Fukuhara Defendants who are hereafter dismissed from this action,
except the orders entered above shal] continue to apply to any person acting in concert with a
party to this action.

The injunction bond in the amount of $10,000 previously posted by Plaintiff shall remain
in full force and effect.

IT IS SO ORDERED.

DATED:

 

 

LAWRENCE K. KARLTON, Senior Judge
United States District Court

APPROVED AS TO FORM:

 

ALAN G. PERKINS, ESQ,

DAVIS & LEONARD, LLP WILKE, FLEURY, HOFFELT, GOULD &
Attomeys for Plaintiff BIRNEY, LLP
OPHTHALMIC IMAGING SYSTEMS Attorneys for Defendants

' MARK FUKUHARA, DOUGLAS

BURLAND, MICHAEL GERKOVICH,
STEVEN LEACH, EDMUND PETERSON,
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Corporation, ZETA DEVELOPMENT
LABS, INC., a Tennessee Corporation, and
JOHNNY JUSTICE, JR.

 

R. LAWRENCE BRAGG
LAW OFFICES OF DONALD J. DESHAW
Attorneys for Defendants
Dal -E BRODSKY and EYEPICTURES,
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ORDER ON PLAINTIFF'S MOTION FOR PRELIMINARY INJUNCTION (No. CIV.S-04-0482 LKK DAD)

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2] expire as to any and all of the Fukuhara Defendants who are hereafter dismissed from this action,
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4 || party to this action.
5 The injunction bond in the amount of $10,000 previously posted by Plaintiff shall remain
6 || in full force and effect.
7 IT 18S SO ORDERED.
&
9
DATED:
10 LAWRENCE K. KARLTON, Senior Judge
u United States District Court
12
13 APPROVED AS TO FORM:
14
\5 STEPHEN L. DAVIS, ESQ. ALAN G. PERKINS, ESQ.
DAVIS & LEONARD, LL WILKE, FLEURY, HOFFELT, GOULD &
16 } Attorneys for Plaintiff BIRNEY, LLP
OPHTHALMIC IMAGING SYSTEMS Attorneys for Defendants
7 MARK FUKUHARA, DOUGLAS
BURLAND, MICHAEL GERKOVICH,
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DAN SALOMON, JOE SILVA, JUSTICE
19 OPHTHALMICS, INC, a Tennessee
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41 JOHNNY JUSTICE, JR.
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LAW OFFICES OF DONALD J. DESHAW
20 Attorneys for Defendants
DALE BRODSKY and EYEPICTURES,
26 INC,
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Case 2:04-cv-00482-LKK-DAD Document 84 Filed 08/23/04 Page 6 ofdd

United States District Court
for the
Fastern District of California
August 23, 2004

* * CERTIFICATE OF SERVICE * *

2:04-cv-00482

Ophthalmic Imaging
Vv.

Fukuhara

 

I, the undersigned, hereby certify that I am an employee in the Office of

the Clerk, U.S. District Court, Eastern District of California.

That on August 23, 2004, I SERVED a true and correct copy(ies) of
the attached, by placing said copy(ies) in a postage paid envelope
addressed to the person(s) hereinafter listed, by depositing said

envelope in the U.S. Mail, by placing said copy(ies) into an inter-office
delivery receptacle located in the Clerk's office, or, pursuant to prior

authorization by counsel, via facsimile.

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Davis and Leonard

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Wilke Fleury Hoffelt Gould and Birney
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Case 2:04-cv-00482-LKK-DAD

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Jack L. Wagner, Clerk

BY:

MAL

 

Deputy Clerk
